3 ise 9:17-cv-01094-LEK-ATB Documenti Filed 10/02/17 Page 1 of 69
=
Weses Mathic court Nov ther Diskrich ft New York
CouhKAN WAS TE :
Randal, |
olhice A Mews n\ enh Wor Ker, Solin racinddis
parintendent Donal) ubler oe Ryysis
| es Kaa Tela goes
senagndsSaknich Raker oy
\\ is * TNS ae
| Code N ‘Tec
Nox
a
)
. FiL ee
|_|} ocroz 207
\
: Lawrence K. Baerman, Clerk - Syracuse
\
Cc aay ane
% ee os 2
\

i}

ase 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 2 of 69

7 Pea Sic igh

[

te ae ay oN) ackion Senin, teliek.

Fs or

~~ \osS

So

x of ak on \ \o 3 Y\ @

ery

Sa
Noe a \ pw ak A

Wye conskitudion of the

aS ASS \Ye Cont’

So Dd USC = eS PA (a

= sSerate SSS

\\ Ese NS

Case 9:17-cv-01094-LEK-ATB Document1i Filed 10/02/17 Page 3 of 69

=

a (XN) PreNiouS LAW Suits

| \ nn sah f \\ AS \ over LAWS wt \ a Lh
Wily Ne Some Yacks involWed th this action and
o\\nex Wise Eel Lp ‘ns \mpridon YY) ent,

KY Waitt 2 auarn hike DocKey No. \a- cV -\4 aI
yy bekank Wevern_£. Wace \ Vey
Dike M\\ek Ya\4\va hens Corpus \ Eastern \i gkrict i Lukge
WosS, outcome A\\i3\ hobers relive enied and Ayyemled

W_Warwdr'? -f auarn wie Vockes No. \S- S944
Delenrank Seven & Wacedde
Dare Wad \O\\3\ Ve 5 Coury ok AYR en Sabres
Dennis Yacobs Yerer Wal ak Gerard \nchy Outcome
oh CASE a cechficore  Ynen Anh by aols AMirmed
Woke ch cowh ord et

) Wain a8 Bava Wake poche NO.\SMH4
Def endrni a) eet Wreebke y Supreme Cour + ol
\ye united SyakeS Dake filed \o\ b\\S Oul come of

Cade Wed a Cerdiorary our of Lime denied.

PW) Wade € guorn wie Gudeh No ob} aos 3
Dedendant \aitenon KANN acer, \ab\\b 4 Wivcal 18 Sb ease

\\ Rendlan A Fhe Pn, \ Naber | enh Conia hype

Case 9:17-cv-01094-LEK-ATB Document1i Filed 10/02/17 Page 4 of 69

e | Waar sats Eauarn white TSNiek No \S47-14
Dereon s AiNhony ANNuccd Note Piles aati
Wadical 1% ease sv Pending

¥) Waanhil? Fouarn white Tcwlet no 6aa6-\b
WSL No o\-\b - ST ea4xo
— Welendand Tk KAnNuccs  Dabe Pred Jolai| it
Cope 2 Pes a YPe\nhed Mather

CG) Bains8t_ aun wilke fndek No. b-044l,
WoT & ol-\ Aol1-ols1. _\

Defensant K nto NNNuccy , Ar\icwl 78
Vlas Mores a, dol ec ade Still pei

: Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 5 of 69

oof \

PY avind i C pu arh white uso Oy cy

Ave S Ret ak \neveto on Convicted an)

Peery 1 ake Sir eaner aiken: et =

\
Latin Se. occurte\ o\ QP a\ aye Coytechonl

t cc Ne
5

DEEENDAN TIS) _\NEOwN Aion

Herein bars No \: kang Ma tinel\

‘Onn Te: O Merz Mental Health Social ese)

ee

| \Woc\ A\\ce 5S! Upaiat< Cae arn\ verlag be

ok Nook aot ae Wa ns alone Ny \a4 lax

5D xem bart Nt Gia! Donald UWLer

ane The, : Superintendent

Wot \ M\\re 8S! urddale Cottection \ \

Bok Sol. o4 ee A Wor kchaloue Ne \x4 >

Welse tnd Noi Bobet Dat Kinet

Nob Ne , Liveuren ont

Wot \ \ \\ee aN Upsiore Careers nat Foculits i

Wok a00\\ 4 Rake Wa\\ Poads hes bene ON Nay Ya 443

1 Weren bank No. 4 D ace M Doel
| ee ENS Wie Ver nent

Wroot\ Mr e 88% unsh ake Coxtect ional Emerita,

Vai Wot 3 pele et Bats ‘\ Hood, Maloney Nosh 1a {ba
fas 9:17-cv-01094-LEK-ATB Documenti_ Filed 10/02/17 Page 6 of 69

Peek Noes cect ko Sen ht

ak ae Set oaent

i Wot \\ Ares % Upsrate Faves keh a\ “Lect ee els

Dok moos %» Bene \\y\\ ik bs Maloney Ny laksa

14. DV oes NO: ( boa Nas ac)

SNe Tate? . Pero cut

Hl Nor Adare 35 4 us S ode Cotrect\ona\ Faciks, pp

Dok ae ok ‘awe, Wy \\ Roads Malone +N: 4 10.453

Lie Sakic URN Nek s Ry paceay % mith

ee ee at Seracht

work Md e 3S 2 upSiare 6 ato Naha Fae Waki

Ro Bok Bool, Bo Bute. \\ Dons Malo hey Na\ Laded

\\, Weleecans No. 2 Mach wed Eddy,

Dok. Vase. : Sernent

Work MWSress & Ox ah Pare vena Feel.

| Tor Noe ool, oN a A tae Malone aa 14s

12, ick ae ee Noc4 | No ToKe|
ae Pea. ‘ Beraent

\worw Mire ss 4 Up Sate Cottec tion n\ Eacilit

Heb Bor ob ly 2 Bate \\ Rood, Maloney Ny bah

i" EE eee eee
' Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 7 of 69

Lt. No.\0_' Kies | Wibston
Nay Takk et CoXtect\ona\ a i ef

Wo A MWAres38 USal eben coor betonal. bar elied

Ro Sot Sooke Sok er \ Bondy Malone y Nal 14k

bi’ Veta bets No as KDA

ahs ae Cae eek nin ak tc Oe

Wot Yr eS" Upsiate ey eae) Sere kt

[Po Bok wool 08 Nowe all Bonk Mal loneyNt lath

sD chen dard ba Ok DY ON Bout Vier
Nelo Mie oo G ett pe Wed oc et

| \Wot\ KYO 384 Wo rsrore correctional Encilvis

| Spo Bee nN > 94\' Wore Wil\ Dowdy th

Re Deke nian No. \ 5 he ie Peemo
Nob “diet Cee cont oMicer

Work Add 40352 Upaiore Cotter bion al Ea cilats

Pp Dok Sool Doh mae \\v\\ Bon hy Moloney = 453

\) Aas ant No \S\ Nicholas Ask\ he

aN al hie : Correctional otficer

\wov K\\\ re 854 Ud Stare Cotter tional Facility

Leo Dot "kooky oS Bare \\\\ rowdy Malone Mh
H\a 453

\'

Case 9:17-cv-01094-LEK-ATB Documenti1_ Filed 10/02/17 Page 8 of 69

Staak No \S52 Noncy Ow

| Sob wes Nats2 A\ inte, Peer

L\aoe\ My dceas? Uda abe Be es. | Lace

| Ly. o Woh. Shin Pst ce \\ Yooh, Malone La4asla

Tanta NO Ve Weak Baker

+ Roe is & Nurse

| \wot\ MS dre 3st Wossore Correctional Facile

ee wok Be Gols Aga hae, \\\\ Bomh Maloney Ne ee

——

aN eae No. \l? oc ee Dyno
fe Nia tee) Nut Se

Wor \\ A\Avess® \ko sake Corre chional J peat

fp o Bok Ao aly 44 Wate Lal Poa Mal ohne, N- \a63
: Es

Lh Pa art No. VO! Georae =o Waker son
Pee Ae Sa eo

ree A Vive eset elk ake Miler’) | mime hu yd

! \
Ly gy Se aS oly San Dare Wilh Bondy Moloney tt \a4s3

hos than § Neo class Con\in =

eet eo

oak A et ONS, &.

i \Nox\\ J Mees Se Upstate aX ve chee
ocd Sy oot En ee Oighe Wego GAS

Shoal, Mok pie N\ 34.5%

Case 9:17-cv-01094-LEK-ATB Documenti- Filed 10/02/17 Page 9 of 69
{|
|

avo ¥ Dita: oho DewisX< Kelrnier

| ate oe a AuREK AL Sot oven her Re la bil lite:

I Svom Counselit | ae \\ officer

| Woot AX\\ress 3 Unsitare catves biphal ea

Yb bok mool, so4 bate Wall Ss Melanie Nas

hak din NO a Rotanne Veoh te

Pol Vi 2 ro. \ ites nek tee bs aes te

Wor \\\x e953 Uprroare Cotrechiona\ Cacia ty

“pe Dok a eal = do 4 a Ya\ Bonds Malone Sel
vases

||
~

Ths ects Rin) ok Be ee cy Ne\Son

| a Sa ap S 4 une VV Si of Dek hed Bien ied

Avon COUN Sarre Pon. \. 0 yet

wor\ Miivrens Up otate Aico \vo Wel hace

0 Bok Dooly 294 Pee. Wy\\ Pron dy Maloney eT
a 453

| SIALEMENT oF FACTS

|
Ab. On SAL ter len We Ds wo Shoe (ottecti

ma eo ob. 8 BA ck ah wef, Observation |

ls wWoas yale ay Nie ee Sd Covteckuong

enc ANS oi eer Yo at oak ec TN vont’ Cacia

[Ro Wok aools Bare Vill Real Malone Nat lata

Tare Ws We ary Ne aiid Lfo y.M We on aens

|| Oi ae Ta es Sari Seg ee
i]
_ Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 10 of 69

US A a Gactanal urinaire bees a bhe

boc 2 Yhe Nain ae ke ae ae push Cort

H \WWhrve Kees eT ol G cc hniet pu sh ye cach

ry iy a \
rh NY Mak cies eM WAS LN x will
Ppt sp F property ace Tee \ours. Which

Ay S. Wu is Neo ce dure I Wad then ESc or per

Pb ey Compan\ \% cals

ess) Re RAS Be See et ae car | Scott came

.
le Ti, ce\\ on \ Gohawcuelk We ts Yall him &

eee See euk ans yones lal and that

Hs would Bhi c p\\ena be

lesa) PG, Ve Roan t Riche! Scott CXc ortes

vin: oY ta Se Sal ha fi macy

Land ut ae on OMM wakch Ani J Shated

l is 2 38 whi we Nae Bae propects

x) On Ass 2 Sei > So cue out o oto eee ee

|
Logis eae ey ah es Wnt an) wns eS&caorted

Lec Anko \\ a ce Wace th Ah olkeh

ne MU lO a0 AK Ss See \nterview by Sennen t
but, Nene Where <x etylnine = kill ©

Ie bar cl and Vitek hae and weal arf
|

yy cellmate \f Wace th obs Scales pik hee

| ;

20) Waowever Muon lbs hee Re wat 2A Popeeeneee

Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 11 of 69

HA x Comm pany \S cell. Wh che” pS She iets
Py VS CNN Ris \ve \y dnt wont to lee oe
LON ce\\ oo Yh W.e.\ Nye Cn Se of mental health

con \\\\ 0h.

ai Ne tbc bak ies ee OAS eScorhel otf A-\
i er yee Vy Yo \\ buildina helen Pen
Lovoun ds ‘lo: 5 KN And She inrete th A-\_, 13
_ice\\ Was Moves So an Vi Mrend cell loc ation.

aa) Mound VOY ORR SS cay eScorle out a
i\\ bul dine o\ Sen eh back to A-\ CoM pan’
Wyo Va cell Whicl chen became Al- II hi
id cel\\ pot ata Wien — move inthe cell it WAS
POT | We i the conners the celly on the to \ie+

By im sah ih the eh oer otra Th ee Sere ee Sh ains
OX Ye Mattes ond Urine Sans IT wasn?

i Ne AN. os cps ech lan \ ete 02.0.4 Yo \ towel or AD.
| \\\ og. Whe cell wns Nera colt because the
i! Wend \ahion SNe 4). Hae iie cold air, when t
LOK Set aent leiiets ad O. oars Yor Yhe above Mention
i Susplves Ne tee) me them ASX + My eh lai. N
iMnve Petal POShion Bream tas we Vest = iV. day
Lond nibh.

aon 2).6\\4.5 h-\ Comvans Wl els coMy TD asin Correction
foicers, Wicks wre Wohston and. Mam Gallaahe Aas brenk fast, bab h of
I
‘ Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 12 of 69
|

Nem, Stel) Yhem + neck cleaninn Supplies

Piette ee eee yo 8 <Ehe\ wh ole Tee zziha |

law) rT Neck gee 4 y Ci i ash FAK \ tiga.

Lond Beruude My ae WKS Yur tina -

i Whos cay Shey dec xy hes C AK \6 sak)
sal Nf,

ayo Sibu Ns A Va dine = $5 A
Social mot Ker Sohn Marinelly wrk me how

| Tm cs eee i + a\\ Ae beeline Iam icichale

ond SCA Ne xs TM Sar diha to ent muffle

Wace’ yy iA ye on Ret Weds Sor 4
| Wee Soke Nour’ Wol heariwa Vocles \ \our not

H Nev ea ag pick eee cok.

39 FA Sa oN ee win ch vs ater aia Maribel

\ ky mt ce\ Cortec\\on ovae et. Rveh jel ee aie ae

[ns te \\ or eat Xn i SE Ye a AW A

UY mos Werks \ Wars Mower Lo 7 nce sti)
hy. Re ae \ fh or roe Vee Yazor  pbart an)

Isvarke cuddinn mo tisk to “Mull ms ori a

\
ty ‘6 KLM cst oe licen ie hak Aina Bin

i

Came Awutc K Yo i cel\ to ack We Por why interview

Me curt\n nya a ¢\f pn or ier Pye 6 atop

ait Wue’ cine Yo Vert Warne, which he as tne sd

on Nuc i Vie X wor.

. Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 13 of 69

0 Mver Y\s wh oy) S\b\\4 pie ae ‘0 a ce
Lows ya \n he Yurdse Station th Les
“Set Nen a BaWer ash me = nt
SQN ss SoM am Sa ht Belt Ses

Pb ep pe See GD a Meet Se ee
I \A\vedo. Me KIX,

37) eh Caine gk Bo oh pee AA Aa kk \n
Jourde Shodrsin oS soo nreSinn cleaned a
rooodnns ug oe \ Sobn Mi rines CAME 4 Moc Kin
if dnd — WA KY Does about Bs And he 5
i Xo\\ Sernent Balti LK Daver He 138 not Sehdini
ime +e o MW Sab ellive unit ana he 1% a
pe AS AD attempt OH my lite,

33) Atounsk 2X. Sita ok eye ote »\ ane €

nt LAS Vince ih Ane es Foor ih

ii \ ban dina. hd ay uy eh ant ol eft Dar Kr AN\
s we Sawvessions about ~~ homici da |
phreets helis § cauaht Shalit and sis}lde
i * yo\\ ‘uy, To not pete Whe Tah ries |
I \yeu\h Ve eul ich i:

A Avoun \ DSO NM Ser cot Potvick Baber
en\ered ve. ve See Lew room while | i> cee
i ob est Dos Kino 0.9 sas 8D. Mey an ASK ome

dD AZ wes t\on& oi ‘ns owt Tt tolh Sein eee a 5
|
" Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 14 of 69

ek Tee ie ees Nc) 24) ke Lasts prior

1
Uo Gomina So upshede’. FT cul wa 5 ae at

“E\mick cites Wea An \ a\ Sn ‘wa \\ Ansys id

Peat yi wg Var Ng i, hn Ee ee

A Kaolha, ha Sao ao oo AS ares t Viney once ers

Lsve Ae any Ae ie Mou: Shh bee Wenvel Vea | eab ellibe

ass) ook eee me So up atabe Correchonw fa chs

H = wows wou iy RB Vist ein wer un Menda\ eaves ihe en Vol

von Seon ‘oY atv un\i\ sla\is Mw Yaak currently
Pos oe A oretee Oh SNe og ooh Nast

Suce hae a Wire aT has éXy\ ian ¥ wees

| Ne omrtnn Suygyesy Nash, TAK Sow e\\ piow sheets an)
| a ie eX pec nuse \NS Lat ae oak \h We a

He Wkew eR ce ee Me de eae ee

\ sk :
U MS Mh as a. Vc Vr Sak ee:

46) So aon M8 om 2b Bee ey So ae ee ka

to \\ aon, - Ke ae \S ce\ Ly oe ad

Hive ote vr Wins ko ts i Rom ee ai: ins

| Nnvevs ry Dee ‘ on ALY. ex y ee sary ie CurUnrXe mil Current

| \
Lore or Woks se nla hee ape ee

i Nee kh C\conimd Supnlies sek Yo o\ Vow e\ \ Wis roe aheeds

Lon Os Wana S An yo\\ Yoem \\ bee’ Ta ours

con 5 Kes Mal personal BaRerds ees Sai ho es
\'3
ok Upevnn 8 Ne agen.

4) Kk Yoga top 4 S\b\\4 4 W> Al: \A cell Cotrech
' Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 15 of 69

ee ets el te a and Micheal Bashaw dR
looms Sonn Soe chow tun. Twas Lull Are 9S ith
Dre We Ons A ce\\ Loox. ee and
I Sdya \Wan ee Sie a Ss OR ais
ddan \so.\ \D sy SN see Nw eens,
Vp Swere ia ie oorticess.) ye os Ihe and

Fournier

Fa ot ae aT sje \\ pa ae

oon’ So ens : ; oe C.ox¥ oe coxa \ Ae eke a cou
Ss osoon Sh col on has Wale Tale ra Mis

PS itis ate chee i alae on Fae Ver
pa NA Srowichy ons See o\ bi dys Dibner
i\s X € Vina sen ~ Th Nod me \b Nours. ts. Eaten
wa) OO Sno Sime Sah Sb Sime Sop pp pn
U\V A\- 33 cell. Coxvec Svona\ oflicer (Bron M
JFous Sek OOS coN\ Aes Us ee os Yar
Ic\ convo. Suggs \en tS a s bd Or A Ned \y wih. We
BN ee Se giclee ars peres Shou Se

I S\ss Okie cy Gor\anne AN.
3

43) heck Aw itech Mf ee pb yer Sete tad
iowa eS ao Ss Be Vor \pax bet i Ob AA
pret \\ ‘akan went che ent edhe vik a.
UWnow Corre Avon n\ adic ot Wri Toutnick eS bebe

Is. Deconse  Semre) me ens i ern po

+ =

ya) OY Magy Ty AON TWAS pn) Ce\\ tad

ry
1]

Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 16 of 69

i
|

|
i}

HA ae Qi ckeaN heute § L Loo ALM \\ - K\- \y_ce\\

LS bt Mi Fi Ven Whe tien 0, See te ae es

LC Lean Nei a Sad Wee? ge Serious Vie pace gut

i MA, CV aee unc lh con sished ol \4 Pas | amo,

\
do \p Ax SAL ce\\ SS eh ane \ Nears Face

TRAN ee Ve LY Me to wash ie S ace

Las So mR Ree en Oe NS ee | We
nie on van or even Soon We dusk look a}

Le we VA Se \\2 a me Me \xcts.\

Sis amt © 70.
q

hon Moan $y ao\% \ a \\: K\ 2s _ ce. 4g Spo - 490 AN

\
Loder a ake Fat 4 Lays. asian \b OMe Rela \
Lette os A Anak a ALY Wy Ne a tee

miu EE (RC a” Ras Oe ee

Lays \o oog Det. ber en Sess Shs ee We Son

2a\5h om Gad We ek ret arr. Correchiona\

Ae Loos Ve Geos YXS One Lowel

=. ache A Dionkes and S wilow cude- We Sai)

ns ens her em ee ae ee Yime. and that

| Wee - Wn Kae es \h Vhe teant,
C

WOH Moat \Oy So \4 pee We WV haope dione
bo - 125.0 - S20 Carrectipnal Crees 6 Matthew

mel Whe hep eebal s ARR cast Mo As ee

\ \ ;
Batt Yaak Ssatebinn Cor mA pre perky 0s A
|

« Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 17 of 69

[Cou pie : airs he "yn ally bua "\
i} nal boas pie Yooat they were in! an

i mu. hal nad pet Sonal bras ht om
LS*o perhi to \Y ual it a sand
i bat Scott aed lost my oe
We couse x Complaih about my Meh! bal }
ooo ds Sion Th Saes) on to Ta hears the
N° 34 +0 YeciwWe personal bo acy thc S Hy
onic 19 She pac. Tt took me 7 day's ¢ |
T. as She Same Soc\S\ under weal) Pants,

Hieeiir) pnd shock Sleeve Shick an top
u\s Sai. And Vhe Same bloody tee Son Aad.

OW Mot Vayhol4 Aime 0 Xo: Too AM. Nurse
Nea Dower Akan a\ = ce\\ \\-N:\-\3 8

Sov sic col. + a we Sted Ache Che am a
str ese 9 ay pus bumps ge Neceeree ce:

tie wha ae ich Ct SM Cece ah. L also

iS s\\ Youths Noh by aah OM Wi the h
Cor nol beth oie Lo with pre perl be caus
fs ‘st Nae hy —_ We dust won. oft

| [a on Mas dy dol time 6°30 - 4° no AM Al -
Com Ran \\ hunk, Of \\ A < Mari e\\y
xa \ AN Cotte c\) ov olfyc ey Take Y\-2 our aie

IO ce\\ oa’ excort me to the Contral Se
Mb \c. OO: Ma aeNobn Marine Spl hc we ee

Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 18 of 69

| Sy e yn Wii & My MW Mels 30 Vek

ica \ Salve Os: o ff his Cade \ oan

‘Lown ne wn net Lveu ke ban’ Myo bert Bay ean”

Ts oie wee tan Ynomiucital threat hickets.

ts Cpa An\ af \ DOV“ and at Sy Ro 4.

tH

4a) Myer on Week at Wan, VAN tiny,

-
:

| \
I< \ Ss nS Sevtorn SYR co Rad eee out

TEN

| ray s\n ond Lt \ aimed i, which i AY

Swell SO Sh onw ib congd an t\,| mS pee PTY:

DAUD cous \ & Gry % a Wa a\Vern ¢ \Veun waw

Aus ahs Qos ray, cell

go) ON. Ma NS) old fbb To Am SAL. 13
cel\ Wifes Vie Baker Stop ah MQ cel\ Por

Sic ca\\ \ x as Por Ache CY ch M, crenth Pon
i}

on Yash on a tua ‘a ise va ve ce

| ne Anh is \o\\ wie about be kgs We my fect
Rie er x ia ave ace aoe Par (

oe ord Me 2S \Wntien as Airy. We Auda ys eVeh

ak a\ MY Pee uk ne Moa S Leg Seen

WD Rok cat

—

5 Or or about od Ady aol \ q oo A.M, \\- A\-\3

iCe\. % Seen on Snmake move in across the

ya \ YY \\ van einx ORNS of atk nn <ofoR cee Mout

Seb Kew ee teed. oes Vouk ee %

' Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 19 of 69

| |

TT
1]

Hees \ Soo\ ‘ai, oa Woe. eo he 0

Uwe S es Gorttechionn othe er Morkhe w

dt eee\e CAM & Yo. Ms Bc cos ok Said

Seouthy aah Tan Wows .Sinols. ce\\ an Wait
Maes are Moning me Lo C\\ al ea: A-4

Comeany  \S cad

53 OD Mag BI Ab (ho A at ver being

an \\: \\- ok < me ey Yo Took ses: b pineal ce

8 ONG ines ogee A ahs cls \s nis t

Ls Aa a Sons \ \nh. geen TA eee eee

‘EN at 2 Yo. cs Bak oor Divnch “Skies eee

HAS aie at he Wee \u nk i CS ron A meba\ uaalt

I Rg Mh ae ee NADAS a. Ag =" Sede iy is

Nou es Yeats we aS So

53) TS Go. do Ne Ona on MHA Veet ate

L onic _W6% Cees \ O\9 a ot hg Veak

54) <x Xs mosice  eNex\  Yime ar ese er

roves Wri oY \nek Toun M84 OT On Wohl Mem ber

nurse eXs sates mae nenaar ell Wiel naga —
Los Nox A cat Waves Sound Nea Net Wa win 4 badd

J Asus hak _S\vasg and _comgacd . a cy Spun kh

Ss Aw onesS oe uke. WC At ‘bac Cres |

L <A 5 ove Q c\ ‘ >. OD. o\ ark Me ies be av WwW WW

x ihe Yrait : nea Sc wr ad ¥ ot \ eV as

oS
ij
‘ Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 20 of 69

PSS ee Nae te oh kel

l
J
‘

oF

9

a

7

oe

Loo soa 9.8 Ye Cox \vcwkvons Sp She Velice

i Rn Dobn Maciodly tried ta

4 Sy
Lorre es Ve ~' rad.

1) \\ \wmoke \- a \A\d Karel Reeder ake okey lh AA
Whee bees in Me Solis onl aha Shall Knowd, and
AS Fac polars Woe Nake Uhis vials Yas pe of

i) ben aN ond pai Ree mets So by a ped Alinbion
Se Acyrive See. Ky So BHAS o\b Nica\ Yor dure inmates,

86) OW sn ay ao\\ dime 5 ast V0.0 a.m
i es OY, SN eaal Se dine \w upahare Ny 3¥\n

> Yoo%%
oo) A $3 obiadrish because = NSS Some aee

vous ds Wecanec ion SYrourh She meds wad —— —_
rm

@ .

LNA Bay meds tT Soh _ eh sit

Wn A -\8 3 Nurse Weals. Bakker Shay ph we ue tN

alle SoZ oS WAY wie bd Ve We we an bi ale.

57) Oy Mas Ady ao dire ni Bian Loo mm
wi Yas Sm 2ss_. lor Lies mah \ os uy \ Nal

Ho, xn Sapte 1 aS \ids wh \S yhis pl\ tt

Cron BSSNaAS ones  oNnes  Narse been arin

Bs
US ns.c Med peed Seduce ne 2 a\d \ nt a

ha, Come. An pour laser 5 Ware w uy SetVe\
Noyes) a wy Tupi.

}
‘ Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 21 of 69

sion o\ A \\4 Ver RAR a ad oy oe

Norse Weath Baler Aone Me wv Mek: slow

yi fe Oia aka we he wil Wn 3 Ke

I es KAY ¢ Nyda oa Le Yee WN ne wk
aa \pin, eck come eNey\ Syme he perdohalls

ae Me we hS ¥ Waroca “ etc Ye. sad
VS aie ee Se ett NG ys \ AY, \n\i x rout: Vader

T_Snreto et ond na as ce hoc \wun

Es
“s

A) on b\a\\A ~ \e NASR Sime: Yop = sno By

bc Yay oc alow (dn Female med nurse) Yeath

l aden AS A WADA te Wits en colors ae Size bills

\
4 Ke. Ms OV Sk ae Surposes bo ne Oo. \

OL ANKE One oak =) oie ‘aad a ens on in Abe

os BOER SES ik 2 eh ee a ee eee

H dik = Wyse Ve hurde Wee ay Nios cate

| Spey Ws ak Wao Shun Sinn et ie bss bs

AS veut vn ie mids.
es)

1]
||
/}

o OS Cue hes. nts a

Nuts « Ween ts Wee ae ee oe gma\\ walt A

walsh ety AN Nar Sc Nutse. hod Ne \s0 ek

ae we Ne aN a wWutlSe vreS en wos on a Maran

Deus NS Nek SG cc eu of nis ct enum

By cot: Door a Now Ooh Apéde Nok c SiMe Wey test

doa Stim as Sd apie
aN

* Case 9:17-cv-01094-LEK-ATB Document 1 Filed 10/02/17 Page 22 of 69

iI doctor pe eScribe you Wala * The shill 4 vegaedted
JAS oNer Se counker Meds huts on e\ oct Sic Mos\|
uC ark \Y Yew sur 3\ ny C.: Tha NutSes Tenulari

i ae e ou. {

G\\__ Oy Sune \O\ ao. \\-A\- \5 > Sime lO on Non
Ay OLIN S ono nad, S40y a mh gous

i Sastua Shak Laws a Dar Kin I isms Ms

Mom ctaa\ Sore Seeds trom S\2\\\ ond ns 5) 20h
I Wie Ae me Ate ys ‘. to S\ an o\S on

i “unt Mears’ ae Se bo We Sat a3 So yon

i ‘bx oKe Nae Sen. Lt Sard Ve | cea

J Dav Winw \nves's Nia bods Move no Wine Teper ko
ben ioe hae Noe beach tines on both a?

We nas pas se os ae akon an reer sal
An dae \ S

4 ba) tnd tals dels Aon Marina oboud
Nutro Weats Soke aoe Me Ahk en\ Shap Si2e$
I a0)_c vive \\\s Sa ot Sher he Sak Vals
nose Ney Come.” Ff Sus hey ove poh Aubese tp
i \oe\ \ ee yondadlers bm a We Sod Waghe
I i iieeuhivecs ie To oe MA Vice Ae tn
Pein te So te ek Ne is et aku
IS s\\ pat eS y \S nod NEN me merical >eeubierd,
We Sad ie Oh a OD MH MeddS S wi See

[sin doc sos Ymvne Saks aca Wak tk aks, be
wow Ws

Fy :.. =

OC

Te 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 23 of 69

Is oN Dune. \\y Bow Ws MY Vo: Be Teive

| boo ~ Too NM SickKed\ Norse Wath

Dm ev Soy ks = ee \o Ke WW

ii “DAE dX ao: Mahe he

-

md Qos, Mate Weds Fe aim Yury [ Ke CAUSA ¢

is Sh ON ek ed dn oe ie ee,
\

e o CN wy i Vn Wwe Ynez \o R\\9

Qs hex \ ae = Sais We XS to. Dat\

ay
a Sektaa Us of howe WAV ACA AnS cht hed:

eiex Sank \ OMA Socid Sees ae Nobo

Ke ee arc Vy ho PYvor \ a

ate

\ Woe \o y eae sas Wwe ais Be OLAS

mS Wea nme Wye wr onn DANS | dn * at

> so Ub Whe aR ws A Yo Soave
TAAL Sh NG

5) vos ayer oon or ound A... 05 G2 Wee Na

AA \dkex Aes G-S-\\_ Seon Bek My in sWedat

Wo Sats SS. ahunn _\Y. Sain, : he Very yp MA ar

Yas yy & eae ON MONE he

NGG he ties See py Wears adexrpood SHG

\
DAYS < Nay Se \ onrety_\S Oas Wmre vor yy.

*
ire Bitte ns cna ie ch Oo5 5
Usa, \ ic) ey ig Sea Wh Now Yo pave AM Visi on din

‘ Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 24 of 69

7) ON June ¢\X0\4 around 1.00 - 3:00 AM

i She cal commiassard founds on \- Al ai
| Setnens Wit vat Sin hh le ou a

i Sneess We SMR "\ cell \\- AV -\5% ibs et
i wQwNe 12) one but SAL t eALet\ body else one.
\s We r\So a Me Oh. prow lou CASC) Wash
HT an ir Sotor\ orem & eu | So coe |

i} Rss Son\\ See roduc tS, tartan pads

an Wary CrskS and pean Cor \s bp
Send mA \oNe oned.

C8) Orn Sune \S,ad0\\ oboul laipe - \oo pr MANNS 8
i o\\ er db oor dM Months and \b Las aS\\n ab ale

Sor on y\o104 Row Coss lil ak. «meth eee
et cons odes wits Sern, q

1164\__om Yo\ Len eo Tie eS = pias Ate ge
i Sinalls ab\<e Yo See an Loc hor, a Ay \{ Lumps loenel
twa Sox arnt heb. Tet, Coot vy ‘AS AS Ane Ot \

iL Shye Yd), mene, Se an Sin Wincor arich

Is sd\\ Syove Sp Sa, Ah olmosk a Mon \hs

ok Sama ee Ge ee es ee

0) os Su\9 Sy ao VL MA com, ans as Sui \ Be '
iO. YY Snes cme DSaxber Soy oNer dhe \oud
i SRemhers Cocvech\iins) ohicer Seiten Reno add

i) Son Noe \ya whey Ye od qa mA cel

‘ Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 25 of 69

Wie toes Notch Se \ial eb) We ieee

Lh ceN ing ry ASK vot aber Shop i

Laat * Wig ae: muha wn be Ohi ee all Wye.

omvances wat until nett month” ~ Men he

Oo DY, ont 1 WAS own iB VeperV at\on

| eT
Sox curdina A Tigh So oy cou\\n use
Sve es Kazoo eVeri wee So ShaVe Wik

LoNnexr \nmahes. Sd. ar Suton bet es YY aV LA

hob aster Shay Key ad ah ca bin ours alnichs

to WS WES ARC Linn ono beh. Neo Wi xine
\ \ \9

rr

7D Sar corre chiona\ ied Nicholas Ask\ine

woke ‘aS Pounds on T\8\\4 Poo- Yop pm \\-A\-\S8

I & So ‘nim pleage leh me aet baker Shak

| covvec ion oWhicer Pemd Adah” Ved me pul own.

‘Ne So Ke \ \ Svey Deir ah ces

ob No pre oA WER Your x lf \) ah. Nes eee
\ ne Ses ey \

| \noles ~

t |
lad ow AeA Mime (oo: tbo em WN ABR

Peay tc ches Mines ae ie nee pace Vamemece et

7

Lc \e un Uo <s OK SW Cot Yech\one\ ices vox Some

Rice Su oes We Sud New Wye Cy obs

| \ 4 ae \
eso Serres “0. The cottecS\nn\ oWicert yak

Wad een Yar qe Nak Yae Man cleo wx

low Ws ‘ak enownh \al\ Woah ve han lace

i] S ; O
Soy Xoo" oe a Re OMS Yao YY ie ANE
« Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 26 of 69

Ue SSN eon ue

la\ From She are s Mal At) ao\4 _untr\ {aaa
| Ws he ehce phigh at a apis \ ALAM

Wer cues > wen eurk SY oe a \ ba Seatac

4 \Whackh wi\ Shor Vhs exy\nin] most “ months

oft YAN wWeiarbor ‘vane, a Mic Wing oh the Shomer

Eaviys Wee oats ete S oll Mas GA. Meee

l ons able No Wusker about ue So Shree ours

i 0 Slee ci”. Because AWN me \e Shounhs

2 KS B\ a gk We coma ana Mme out E alte

| inlic . bein Comsiine \ \h oa \S0\ahipry SeVere

Asgriadion Heda Mon N\arass ren) Nurse Heath Baer

Pe oA. Da on Marine\\y ConSspir inn Yo ave. mA

Smenka\ Weal Medicadion Migus lids and Mision |

ito Nox \r ann XY, w\p Vor mons. I ae A AN bp

\
| \y ale Ma Vacus vAY\ONS\ Coma S iors Der Vous a5 \ 103

iS \rnalse control, COWCeLabion seficihsy insomiay

Rese nr \ Bl Nek a PKL ANS .
Jes

4 On Labs, Vy sol anrokim ot ely cee 10k.

os \\ -\- -\5 ¥ a Spake wth a ee Wickes \

AD. EMA Pequessinn Mi ye Woe ¥, On Level >

sagen yt \5 - tlh ney 4 Ah ie personal property
Boot ah Masaaings \ We yures \ ShevaWerS y ror tsy MoVing

\ Oo
i Yok Wales avy oud wash chains 1 eXtra Shower

|v) recte won. S ss Sol Som ¢ heen 2 & MoS
i
« Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 27 of 69

Soe \\ dos to Nook nmobes who came
os ar me to \\ oat Yn KA CoO ma ANS YaKt
St hy AS a o\nv to \eVel %
i vphen cS \ehove me And row at Ne “wh pr i$
| deur in Me st leew on \\\ ohm being,
“ pins S0\s ao Co\\ Sotksure, We anh Ge aan oe bo
i Tanne Shor, Nowever \s bevel happen

oth ven Oy Seyrember Ly aol \-M\-\5 & Time Yoo nm.
\} mvtex hain, Aen riNc Seep hes ccs ha Sin Lp cA
I dckure Sor Vs a oh. Sine En and 3
LM VW wa Combine cits \nors \Solationy Severe 2
I Leys \ Bedalradson.y Norn ss ment Nurse Neath Baker.
Ons 0 WA Marinelli cons a to. naNe mg

— Lato Sealy Meds Dice nolue ges in Uo Sion ah
yok a h yalow Avs monthd. ba\\vcunmsions y
jConivaion Voss of pale contrd\, Concerasion
i dct ecXs \ \y So my \ \yveud Kes : and de\i\ bata

1a prsan Ss Tb ey. Peskin, Aeqress and 5
i} SM VAX Pitcuy be an O- MOK eu po Se. Yo

INN ms adh Teh the ops aroun bmg

+ De No o\\cer CATV YN pe Yer, ubo\ \
4.09 KS WaQAor bons SONG GS ag oe Oo No

i wives MATA, Women ew Obaex Yot\o. M\\ alticers

4s Sree. Sad WA eins bor es pie

tp SBR ES AWAIT | nN Sen din YS : whats Ms ose et

i Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 28 of 69

170 OX* Sentem bet $y Bo\4 — Velurn th a

Aen ob Menk a Wealth “olbgeeva ttn

boc Yo VV ~ N- 15 RON Ske — Wines on

LA, ex lho Qa, ib 5 ain M2 :

Wi ra. Wee AUSE

ole < GAS POO eG Wee Doh Marine \\t

\e\\ A. Be aS WAS Yellin. wn OH hin.

| INA deiadlaos s be syn \o Ana Me w\ ¢

l \ne QS Ab kn ges ;

0 OW Senrember \Ox Ao\’ Yime 1i00- Soo KM

| UN M-\SS kT ask Seraent Lourn M Gokey

ws KS ede nie c O\s Be hee ee eee

1 xo aS Ns Me _Wovina She wars where)

ibe Canse ies Non oor ihe Orie ANCeS \\\

i
Pte a nese is Legros, me of Sh

an \ Ya. Be eas aN adr Oe on \ We

a rAYDS She ahs) Sper See ak

Lo Das OOD Sil = Rien
| co \\

2 OW Sewbember By ao\4y b: 00 - a doen ob

\\- MW -A\S® Ve ARTS coat Serkens Ron Sad Sony Th.
| Task ‘dain, WGacns + Gals Nek. Aw

1] P \
Wak ta icone kc cs ia ee eee

| \e Ba eee ee a oe). eae

| \\ aR cee’ DEY wxS  oVer a
Sox Nooo S dh wee. \

Lx OCC ayy a)

H

« Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 29 of 69

MOM ockober 4 dol. Sime 6:00-1:00 AM
ok oe OP eee Poe Nahe. S

i Y0\\ Nurse Wert Baier nak  F Wave ah

1 YAS OM mA Sde, Yak is Spreadina around

i NA Soyo 9s bods, We Sad Woah Nhe
Seo TKS \SyStretch Ws. WNowever yah an

i S\h ya ws Wc S\ve ond ND bas Fak. Z
| Vo\S SN a sh ee cnb\e

“ Yan ons need Medd ca\ i erin, “Saas
LS emied.

la) OW oc \ober \d\ aa. me 600-7 bd AN.
i Woe op nse Seen Se Pach Me \\\- Bee DIB

Ay ohio SA ko She \n ei mars Amos
Is ye oy \ Seu Sie Os how lana! \

+
Ras Bhs cee ee ke wt
Dye a yer yt \o\s. Wed. DaWery on \D\a\ Nh.
Sic GS ea \oet aia ithe
Bots sn aS aa SN ee sna,
POA Kos Sve TASK wpwldes CoN at
ae ays emo dS A oh cy Surme oud
gi SSN wo9o yn So \ s\\o ant ard.

iXoe 5 ANNs. Wo Dee Ver. a? Ge\\y Ko
Noi oa ee NS Nos \ Ns... 5

He) OW O¢ yo bexk A ce UNO sar aaa oe
Asem Sn Aste \ 1 Sarda bosom,

: dice 9:17-cv-01094-LEK-ATB Document1i Filed 10/02/17 Page 30 of 69

|

Vien Pe OD RN x eave ar Letter troy

Nurse. ink Ri is Nac Syste Nabe Vo fo. beet

Save Vou need Go eae ub. Sor Sick cal\\

| \ \ each
Sor Se aiken ov ‘ones Me Mal Con ition,

tt Now ‘nove been eValuared ond \eemed Yp have
Sse tcl Marks wos o« Yash. No Sremtinen *

iS ee ee NS eee ae SAN id

Pee Bos WituS hn) 7 nin mets Yo. Wes

—tns \ask See akion Tash on + S back

ha Gc ee VO Nh ne the ge’

Oh Sep eee Or A aadrse won” __¥6

\ cee
ll te eee WA. Wendy Wels sds RN Nx

Di owadc i No wo yan bs aL oN Vw we

Nic UN ee

>) Ox \n\ Wu A 7 Waa ys i a

Seo QD & we ADs Te cya, OAL Wedd Yor

\
| \ eh WO aad Xas coms ied,

sow \p\ aan eg MWe wae BAe
LN Wass ae ee Ate. OO yn Who arch X

+ ee Be KORN Ace ef Ves

ela ne

“y
Nars nonadc SAND on Lider From ~Vim oSds&
i Kem S MEN GS beer Lecr vn NL WAS on

% ‘ 4
| Sein Sk Qhe Sao * So be rawr

« Case 9:17-cv-01094-LEK-ATB Documenti_ Filed 10/02/17 Page 31 of 69

Ks ebVio4s She pons \Sins Yo iy ssl ‘ih
Stas ip neds oi ik Se ovi-

Erom \o\ ys uols\  \pyailis © \dad

| Peave ya Men \ yeu Sh Medd vinich Vek

We Ladioe, More. Soptes Combine oh the.

oN) ay et ee iS Su wons paVina On ie

on \ai\s 5 N\A on ne * sen.
Icounsedor, Eos \  ollices Sense —_Berniet alter

f pee

rere. a

‘ dice 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 32 of 69

Lai aR tr we Sr con ake ee

Yo \nw vke Weerdey . Ts apuen \ Sian

Pe of Slee nn \ SEK Doo went

AD SOG \a\ao\\s ‘ime Too Ar NW-N- ® cell

Poe Ye eae Bete ok > Wan bobs: Siva bos phe

| wWovinn Neat Syo me \\> A= Vi cd How ever
| Raat ‘rane ed Awhch s new \b wad

Pedals ae Soe Ee aArieNances in Yhe

exey be Aue hose.
| ; A

ss 9) ORR ps © oneX Cro Dec om ber OA,

SONS om \ ne hoe fx aot A\ mosh

« ents WA We ve Kot MA\S banayns on Ml

vax ROK. pat Qi\\ Vas PE se Ou she A

LN SNES eR coh ater pun ee hee

| ks Seunn * \ae. Tyron 7 \ Vas SA nN a\

IL veerare _coxt ech ann O coaveeat Vis Seguin

| x
| YY @ w D\eo,

40) ON Danu ne AN ao\\ =e ve cues dh

re vk ey Re sas Bae Ncw € a8 ec Woe). F acylys

Sk hice’ Sh OD K Yoo Sar” ow Were

Yy anaterres \pekore ya were are to TeNvew

Cenresdes \\ veo Paks cae ‘he ate A ae ts

pas Yor These Ceguesta \be WS a b seks

ies ues S Yo Whe y A Mie oe o's Yn ae A ee
» Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 33 of 69

Roa tox Nou. 6a gee ein Bileck,

\yskin es te earn a Yapes oder gussinn 2

a Seats ee NN oi nce aha
* Yoh anne Lec\erc + 7y\.

oe None kp Stale ee a

\ . S

Yd \

||
. Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 = Page 34 of 69
||

dite. hot etisk ar Na 8 tacit) cont ach

| Greennodein fake

i Moot oiver 2% Monding aS aoul 1a ode

| Felbur ats. \\y mor Ae Lpedstioner | Me oh kS seg

K wot atsy oe ATA kes crk ek at ser ‘So

ee ai kena \reorins Ayan Ya\al\t WI

esse a Pe. San nok (and “cave «ew

\
Ls UNDA a + et inn So nodacd  obficer

Rae Wurnred tor d SX Denise Pan

cous ind Nok a Ven Me Prcrias Pgs apesn haven

| c.¥ ext avs ~Bunsesten ASK Por vi

KY \o ph a cu

2 MW Ale A\ 2 Ve co\ a\\\b \ about door

}
aces \\ tees noSK ak ~ oe yd View

de Ske ke Vo cee thee

ane Ret a oh WN bro unht . o ples - my Lect

ls i a \oie Oe ine ; Gite ow notte tot)

too cas Wirt yen Yo Me and up- Stabe ead

Lolficer Come mina hee ED ioe Yapes aad

Goa ot had sn Tecie wis at We ov.

ek L woes \ hyd i Ve dvr i ud share \n manip

Roa CA 8h han fe Dope ah Wwe \Aieins st plac &

H \y meh phoyer ty. | ho Mak Denise hernier

Fed ae io Ws \S \ Ware Bcc \e at

\
Ss g \ KX — We ws Xs sadinark. Shh g o\ So.
|

_ Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 35 of 69

| % ak ad ate Yo ain 2 ome thiha . Sd

% in al XW we > \ en\ sy) Yn ak “\ Denise

Kerns iY c\ aoe Sai Vie Me and Yow

L O\n g i C¥ ah re

At) hKrouns Sp pm  \WeN- Ve cells a\a\\h

| t ekaiud V5 AA 7 oie Wok anthe \ez aes

Rixk we as petax § Con run Yoal the,

yvN \S Se Piss Tot Woe Vas} Month

“os Sy i A ec ae WS S AML hy DAD as

| Non
yey 25 as rn ne Vac Aes \ Sek Yyowan

is
x s\hoinek hee wr We do: ss eh inn

Nk aX. Va ere: Y &¥ 2 bod eNel Yo U nh she S a

esas \vss\inuing so Sn Pg Osi, oa ee ee:

Wunaver - } ot S ih x wt he 1S oh\y

nh eS eas “SO ee. Sk Sa

! Yon a. \p aS (ay td inkwe "3S We Said

Mote 8 An dina Wavnas eeu \ KS Wounnerlord

it Sass Vox S ee. <e mn eit Th ems 2 5 \
iS oa J!
| RA.

() Wowener  ovouns 4. vo 9h Me MA cell

_2\\\e. = cecive\ hs \ek vex ree Denise Ber hier

Yn ey we Dore bene Vaiss oF ro Av at Vee Samsun

Wb AS Nein Sehurnes - So Green non ob sno
ans ice our wk Sed \ aves ore Wn. QoSSc dio of

\
ES es & urs Sor yor Vo wasn \o. ot Tequess +o

‘ Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 36 of 69

Lo

Ch \f pu Si Soe i _wutdnase. Coy, 6 meno aan

Cr orn ny F-0.1\ aya

Sr pe WW San dhe Bes Aa “Yy

\\Y Sen\ Aes “Tino Aidan

ss \ AS YW SSA Wend, ‘yom by oper .
an \ arcane Nncousp = ots | ee |

orice \y Abe RAs\. Specshicaly\s eae hy S

nas Yd, Ms Gi) oe oe cihce aa ha

aes \\_-M\: ML = \
mk menday, \\\
\ Noo Loans Gs.
h
eo. N. y\
SG bl ob
1
|

|
1]

_

Case 9:17-cv-01094-LEK-ATB Documenti Filed 10/02/17 Page 37 of 69

hw AW books oe Veuu cots ao tor or het Coe

Ey ao

ioc Gi eo ail ~ WOON tol the

Roem ae We An  Yerer.

Ins) O'N*/ a\\G x Sei ao Se \ C0 ta ak

NI veo LA as ou GY leVaAnce a Lcey

5 5
yaks, +o we nrour YH Weer beina Se iittoe bok

ane Vo\\ So ah, mid \yaa 4h

ond

_\o2\ vex cn we WKS Sie eke \ \ ON DMbl\b Denise |

en ee Coro\e me See Wes ercipe ciek lo

Rancdsomet On aloe

i
|

Nod) So oN ah corake Demise Hhernier
| \etiink wex Mapa Suh 3S a pee os cau eS kuna
lI Widen es Vroom >. NE nol Yoo ankes

eves aaiieninl

\iv deo Coots Lrom a\a\\t _Wowever AKIO
ea eG ue Whe Vecorler on aly Wosn

ee peekaie Bar hes Ad ook at

| Pee ae Next on a A\\b ais Wag

| \
LE Same Sv Wo 43s -Wobopy 2 SS me to View Wises

‘Lothar rn \aS soi wt \ \reatind

©

\o5) ot a\ Ya\\b < Criuvetey F Vien Nookaae

\
Ax om Ye A MC ond OAS Yo\\ = Hal Age:
cat ned QSAG Ko \n-e Vex \\ Aol q e
Ev Ey Red OD mo! eVaNCeS an ans Denise
_
. 9:17-cv-01094-LEK-ATB Document1i Filed 10/02/17 Page 38 of 69

| Denner ot \ao\h Gas ie Pd bok

| rs a
eb \ \he Same Mime. Crame
i \%s Nae bok Myx :

= et ee wrove he open Comm \yee

e nglernmmenle movi De = Betiner

Ag ash We ond \ver cA A\NA me 043 4h

Tonk anne under Q \ YW
We 6. tee
DWM Ar ats

“

w

Bea Nin ee Sep a

| es
Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 39 of 69
|

_ourxoke PeniSe Werniey personally ih

ow Veeck Dared 4LT\\6 ih sum \ \Ne

| : .
POte gorda. 1 C25 panss to On \hnauiry

| veo MA. oe eee Cel ahr Yo \ eee

\
| “ON rye y Se EON um Ror cobs i \ VW \eo

- OU DRMMAON your DED Doded Reed Te\abing

Nt CoS ts s Ye production ate nconsssan

| Cos Sne Voda” Rca ax m4 Tewuest word S\\\
tee MiGiweek Nee keto er lien\

| =“ “Yure aly Aovi Ye DuUYreme court

|
Ot nreee oa Mis \ See (yas ee ein ie Seung)

Senay emacs bay. = Peto Weiss hevnier price
(ok Sy. > ire 5 Sk ee cui Sy LAW fo & 5 eat

! C\nne od bo. 0 Kor y O. iy \L “2 ie) NS wee Widen

| SQ
orbs (99> Aeshenl\sd As * Nason
| \o4) OX Wao ‘y4 tee \ \_-hM- a a \ q pp -

E \ Wowk ote meats Mere ¢ wing. Soil

\ ay
ce\ SAN VAAL ae Gece we N Oy Veci Sion Sots

Nsona on S a\aa\\b sya \\na Wa XT wad
Xe ne 2S \ © koe XW ahd OLO Ary AT. hod Yak

> Soms nay noo AN a Sy, Yon, Se dss

LS eun\s SCHED Wed ss shucbinss SuSeicious  beins Shad

| oohS % Moods aX 0 Sais ayer Fda Ade nuts

As W On can sein Gnas Se Vox \ geet Con Suc!

here x one den od owe vn ( podant. \

Ma, sits an oe Acar inn ¥_WOX dv ek Nie

| * OCW jose EWS Ce

9:
: clke 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 40 of 69

Soon a\rp\\b y Mime Nooem Mi b\- Vcell

y
ASK Ate Le etc vox \ CORN ot whys

Tans Ve eee oa ON chee va that was.

=

t .

YeN\ N.Y w\\y We, at My aX 9 aid ho S ex

w0S, beh) anasti ol Ne
\\, OHS Mee \ voy =< Dee eNide .

Sant un do NS A suse ee Cate tothe
red anon MN Swans AricWed. Ay

‘bas Gate ah Ve
Cp oe ne 4

: Sy neal
Coy OC,

anda bec
2

_—

. Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 41 of 69

||

|

|
|

Aig cig\in cs isto rd ahs She printed + out
Ah es oe Keak yack ok _unabale ¢ f

Orc owes me the ores \ pn wee

Vic Web ieee Oo VA bie Wettph . uihl

\
Mad Vy SA UY nd ah e ma Wye on Pru tyr ays
FY Wa he pee eo Nk ik A\s\\b & ae

OFC yy \Ver\ ee For pray out of Wie fae

False KSSgulh On as all on Yre : ae iw §

please emia

| oar Ked Xo Ace A es dN» 2a\ ads Deb Sunny

| S \
hss ow AAW qe gS a \ ec lore J vor

‘Loo ower Coord i TAA ie Sie wind igtorly bo

1 See if Yas ages a ge \yaal\s anc’

rl
We nae we wi Tie glinars Wie \aae sunmasgl
|

aa So On Apcu\ i \ ao\b \- hike doe Sas Wes

IO Bic eh Vacen for Some Sona th wet dina

ox a MreckNe Yawk Das sg You? cobach a

Cou a hee Act aon yee VO he peek

Hak Ne te Nea gus Yo ove ovextn\\ Cor petition ey

Iss Yoyo a oy RL GANNM. Wy 2 LAY: me +o

ante ). Rernver Cs Ow, Yeuuers el

Ween SEAN ONS gt Ken Ven \8

ies \o ical Me Ya. hh lee CLES aS

U oe Yaad \\. Derick Se nie\ Me eVver4

| Yetwess & oie Since 22 = Athi Ved back

I avaovis LS GAS Ve was Ve Venues) tlowever

\ue \o ON orsicul 78 une “Alvaalt

: Ase 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 42 of 69
|
|

Paes ik cla ack: 08 vee e  Suah Bae eV

| .
Was unre Son able any Nya o Cp nied

Yo Woe Bee \. o's 5 Gan luies © deck ens es

| ho Lec \ert Ssh WAS Man dat ut Kin ber\d

pO oa me Noa Poa 5 ND pale Wt wi i eee lan §

\
‘ne S whim Wed Oe \s ho Va gi We a> cr y }
\ Souk, oo mon Sdered Vo Su C ni evik C . ae ey)

ow Sn Lega sneaks Zero tolerance oilira Sor lnm

Lown Sm ne 23h mune oh ourlined in Diner hve
Moray 3. ‘omekes cho ove ak nushs of dK

: oS
vey Stee S\SAbD Rex Ye Oe ek \nmake  Behalior

‘Sax IX ao ons eASe\ Yar ooh So commis A Ser off onse,

Renn \as. es he A Wh Oi dak Dace \ ov ath empl
ete ot onn\\e Wearce cahed toa \ ee eitrices ie,

—— -——_}-———_

oxvice oO Gehan es god CovaSeinn 320 oe a

{SS Rat cesbinn * & ooh on be Pe nusted

Lyasicaghde ie oe Sc oy Woe ae VAS

Ls Pa Bets vender Couns alin Heed that

eer an ee

XX e - soxed Sau Yemase on WH dhe % ehuUn ok ude \

Bi eo = Sek ay Uv se X eraecny Gn nok \ ae VWeeCessoapt.

4—

Nhigie ele Week cee ac ee 1 S\\1. So dhe _on\

Charny 18 an nade on inmate ie ruse.

VEE rN Cri. aN aye pais Rete eral, Nal cP \D\\b_
bo Weare d$ios Wederen E -Yorm Soc WY had (nd

Loent 1x1 c\er ox rohek gees Vaat “st

| Xs, we wee Cera k cs Sra Sey and Ve ave AN

i
yas Ny SNe oC oe aa ye A, #2 “6 ae ge aNd
os \ te

7

» Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 43 of 69

7

albiy Ns Seqathmnenh Bhan WankS ks Tears Sciby een cen |

~ Mie ee ele ak ~aayht yo Me]

(= Reo snc isp Nao \G eth 4 ol
3 YO\. Di © h. \ ecl\erc Yank 3

a Sensis ny or \nmode ‘So be ae

Yoo Le xS0's <_\ys <\ aSoric od iS
Sen

VA S
\rsormadvon stan Ve \\ () Waters od
\ \ pan, Gia,
@ »
Avs. ms S
tm @
yr N \
\e
: \
\ ‘\\
@ J 0 \
ae \o Pj
vo
er Sulmy inn

ase 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 44 of 69

“

| —Santembs eri VN a ONG hod conkrart ofc B

re cN\ere eae Me Yaak Me boas fol

| Nex \p put Se Nohn- Sek Cat eens QS

Un See XS \ y Sos nes our D._ bernier

person nl ehh) We tek sera S\N b.
ee eee a an Nc wee

_&® OS ese ue o\ ck Woe, “Soipar fe Wa Men)

Shins WAS \ ee

wD oO’ Kao ass yolk \\-BL- 4 cell onc

\. Sat olo Wicd Os io wie x, =e a

detinct oan cc Stes wit bo che ‘WL on

Lot it pins Kyr\ Ay »ol\ “Ty oO CA he\a om wd

\
Loh Sowa Ses corny DPD Berni iy Tries So

Hl Neen 6 We \¥Qb ob a We Sie Tapes.

Ais = OO i 1% ie M\\b and cae

Subrome “Conch. wale the orice a2 eee te!

ie LAW an peice mas ae Wu to bp.

| decision Mute qWa\\\1 om abil wutha Por

Ww weo Tookig!

Ni deo Tarkan Live. SubonMhiny Rund $las\t1y

ys Oo} D\aa\\b 7 Wek AN ATLVAN CE Qa

boat

i Veach Nelaon ‘na DV Rerwier ,Aaeon castes to

Ve al yro cess Wak + Ge to al

=

OC
nokWize oe eh os ee nn {lin

| Ma Arie Woes eouk Vy eM.

, Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 45 of 69

Los Voces Coles se \ as \\Nie

sds a ie ae So ;

tsa oe Nee NS Werte besnn Ye Sac bed LA Loh)

i. Neson, S  osd — or sib at
Pee :

Yor Hosier ong Y oo Teper

Megat ONL Fis hie, oe

: Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 46 of 69

a ws ne 3S AY Wed Se w\‘o ned ayes Wm cell,

Hs Srick do back - ons covey She entrance
ot wy oot Sp ~& cou tra ond Mull it , bul

\\ eines AG a en io eS eV Leb
San Abie: Ww << ChUdinx Me we LV

“cw on We. CO es vox eMeXt agned Sick c al\

H Ft Nne \ae\y a ves rake Soham and
J morse Georres Nanrerdon Came \p md cell

s nodded ae Nae bitkver mark 4% a wi &

IW petits Me Sar \ne Ra Ne tks ee wy Lk aks
a 5 \um te Woes ay ae one ho X. We never

Came Wein cK NaN bier: Gp Ae vu} pear

_Sadivex XN otticer Gk po Bea Dekh Pon

Sox Gey ck so. Dee Soak Nurse _waerson Sui\ e

8 Fat Sicko.

a0) On hen Vy aol. ASTRA ot ee tee

i Veen eo baa Weds Daler mods Wye lie. Ve

a We gov bone alin Andisephic Vw nv Shics.

Val) OW 4\ \S\\G uk ware ie Wienke 8\i pe eee ed

\ \
mart woh yo ng Qroc ess 8 you ison bo yg

; \
Seen OV OcKe Woe ned AN a (> Ab = EOD p I

Nurse Cot ae woryey Son pick uy Ins| Neh a\i slip

IINaed Ons A\A\G Wa BA bow Sees +2 7 op. hee

IT cons on TWA cel\ door wikh Ye \in his on Nurse
Case 9:17-cv-01094-LEK-ATB Documenti_ Filed 10/02/17 Page 47 of 69

fobssts 1 convlin Sib sub ell pounds
se ga\\ ic aa a ae Geen ||

¥ Sow i ee Fs ice | Ves a

\\ S\\v.

wis)_s_on A\\Al\b —_\\- aes ak Pa a kas

OOS >» M\y \¢ nd ofdicer WAS 1c AL
WN) AWN oe i a Wad On Wee pl V i

Soo CaS i AN DD ee N.O.O A ary \ wi) ape 4)

: Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 48 of 69

|

1]
1}

beak dK che 5% SoM e prorities ih AN clewk
I Smo Yashit Cub an. ADM ¢ Vasintta doh

fica, Por vhe ce Sas her can ae

LOAKKL Pederca\ Yor me tp aek oh tebanus

eye Metiu eee Mohs Bubs eee iy |

Kove me Al \\\b dmb wt condiMon presial

Sok More Wroan a hours) pApimal bibes ete
Lan sned ii eo kat, Gee: Shi tee eet

core Wie Ee ces Sy ynwe the Anat heat

Loe Be Nae Sear? % fm Soc ale otha
Sans, ENer\ nay \\ WAS Some \ pe of ;

| pera w\ te n\ upotnre a 3 [ cL.

Ne ueusked Wieo Aeni\ Vy noid a all mention

| tote Wc Denk ees ei Jens itben Shee oie

Lnowse OW Ayn \hy dob Vyacd Nelson ek

\
Lin Tehwer' hate Sayin (p> 3 Wis EN Sales et mia 4

IS * was Sp es i < Yop not dv pul

Sham Sowin Sp &  Penuesded met Re ae \\ -Bl-4B

eal\ A\MINN Grom Tp pk = 4.36 ony ST Lh re

Las =e a Sin we aL AMM tie \\. XO ps mS p-t\
WowWee Wr ied ee. WeNer Ye spony and

Sue Sh A \ he dieu 14 sane bud Sie

i Weniex Yo CeSs N\ Aue \S.\ aolb Pe pues

| \a5\ No\ Ayn\ ah 2. o\\ \ ean W by arate ct

| ans eee at clin} on rey 4 laslis Yak

vad weltina ri pr perds| An mice Yan
S coe ts): ee
Case 9:17-cv-01094-LEK-ATB Document 1

Filed 10/02/17

Page 49 of 69

Wy A ne

\

i property bar Sew. O.4 mca lh \ ell i}
Toccn \)) os i Months ibs \\ abe Ok Mcul 9. an
LS 0 UNS oy \ Vy rou a bh (oo b of hy c\ iris :
Sue dp ts ak” \\ Was eal huaus | a
pAb vn. Aa awe Draper ds fray eae

2h fas na nase —peopast

.

alan sah ka "O09 ls \ \\. - B\ -

Nd TAA DOS Neck s\n

S d\ :

>).

\ ¢ TOU d

C nin aberin ten

Case 9:17-cv-01094-LEK-ATB Documenti_ Filed 10/02/17 Page 50 of 69

haat ON Ages\ “sis, ro\k _\\ Lun dina B |

Ue OY\_D NA) Xg coN\ \: Yo =: BDO PM, TrP< |

\ \
N edo cA ome Yo Wa ce\ 9% \ ave

\
Lwontes \o Ys cuss 5 Nive Yninns bade Sc Vel

LXne Yack *

\ad) Taras ee Sard Hrd counselor put Yoo

' . \ \
Y deren Ww Fox Qo oc. aS Dorel oY

S\aa\\b ons Shou\s of vader adie he

1 ieee

paver or Soon ‘Nye Same 2 Yaak She

Wey a AN SAR Si wv bas Yrouah  % Coun\

Lows — \aex Yor? tke Derprer > va Vhe

Low: Sek oventde Tel cken\ \ perSanilhy, s\n)
Tr Svaeudtds Sanna owe Nohandye Leclerc

LAS owe Denise Warnver NaN nex do pod hy

\ .
Il er ouss S weds Wer ob, ST N&n Yo ex

Oy WS aw Yaveo Xo pr mre . yer FLY KEN Ne\sor

. \
_oxSwtdox Sats ex watt She was Vere when

Ware elem ores wh Vy Nap Wwecuss ‘hoe

ls Oc: yy NV bors LAN nad c\\e\ case

Ie ends 3 \ne % ws AS a NAL it aust Ne hie’

thee wuse Dems YB edor.er¥ vedived ans Yaak Now

Se \S War New S09 YC \ eo \\ oWicer: = Lol

\pev WD _bernrer Yate w \vex ander Woe bad,

wad) M30 KW \pex ow Wao Demse Berbier

1 AS NOW \S She KOLO So Ss oes BY halbors

oe: 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 51 of 69

ik

os RYyLce of bo ‘. Woes Moe ORV > WAY Ni eos : of
ia ase Sah Wid Yon st os ho \
+3 no \\ Ce D \ Se ih a\y eS ad Yo
vind eek Sy Yn gs\ Ve } Dave
| “vb Yaw Yk , and rar \e Sus\ ok oa)
Sass ga NS hn \ \ S ~ coh wr ike ok A
~~ \ t

=a =e

scsncieatimnbaiaeeh Lai icc ti Sch A ok as) V8 She bok Te deans
et | Sowa Tears Yo She 5 ae Se Non

Oh a s . \ \ : \Y) \ os hy \o AK? Pe Ans
aA 8 ree Wy skry obs

g

MAN DPemse Herre

: Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 52 of 69

| Soars : Ma \ eo Sad she ey re Ye

| Key Wwe BS ~ KA at +A\ Yer kn ot

ahh et wo” S\e o wih J. ol Nour Yeully hot 7
MWh ay eee Wis ok. pe ee eta oe

Sa AN Ni vad Ae eae Ae eas

care te YS aS hs Ob eet aha

$4

bas Ay ph \eaWc ehvonk ies’ SSK

She mes ae Know She nit ee a

[Ras Doccs \Se Ao ak L sy OoaxS Wo YTexsah

LS w Max ceo ys ‘wet. 9X HA ce 4 &
i eee Yeo, URSA wre * Witicend ee e.

| Tate Seat = \o hae Wenge On Ce a

1]
|

- in oC foe yp mi ce ny ¢

I been wy eke custo dA QS a G  onbhs,
_od nS Oye 2. Md Tt CASS ee x Spent

wes Gs Aga c.

han Qe Wt porte Wn “eek ewe =

| ord chan \nex Y ee Dex wick ; artsy
oss Ywex Ve ae Se es cocci Xo

Rae \nex \sSQ8 <u Wet ‘ex ee Ws

bio ahd Zn A tia a AXiLeNV AAC e \ se rk Owe

eS a ease > SON. MWe ORS Sy anhionn

Hl ws. Ske Bee Sa St ie Sa

id eee, MOR TE sr Ss Tn Dok aren

aS: TY oe aoe he WAN, es a s\ wi re: % a

SONS ees se DAMS. LS
|}
‘ Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 53 of 69

OK ec\Wh a ice ai) Oey TT 60:20 m4

J yew facts, she wit oO. eee

| teak Cees. Dron WK o\S. (Wwe, ff

Ved eS a\y\ ietacra ae \asies yee is

| ON Onn oe gh ¢- eSOwWwe WHicen. \

ea Veom INQ uns ochobert ah aol

ows Leon Se 04 Bald. hans’ \ elt

| \
L Sion as \Y SeVe tA Vane wer Con WYion \h (MY

Ly e\n\inn ody ants \ Wwe ox tho hunny caniack of

eu ®ve whvon 5—Y\0 PE OWL aM 4d nurs out

oc an No Reo en Nats oe \nmakes .

Ass aes \ Dak. oes Ov \ i SeVor\\

cate a edge Svan Akpan ‘ve

Faove® = ae oie oo WA ede  dinhnb

Xen cic on Woorss Bn coat Aah ek

3 \gx Nee \a Don a Cements

Levon GS ik

C\ ows ret os liek

kyys\ Sie of Kohton , Count MS

TNS NN ere, i we eee

R\ mio irhh i. Xen\ me Dean Mo cine \ | \

vcard Windsor \ Rober s Dark van Patrick Baker

HS eis Doaer Fe Neral Peete i uiks nea Aare.

Np \aion of evoth Mond ment

SS 2 ie Pee Rel ine oe ak Uae re ae ae alll
« Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 54 of 69

Fatah aie A ee 4g 4

4 €) oe OF KD AL ADA 2

eee

by Gilicanc Sls Shoah Shy

sd ee Waihoa as!

IY Breve anh me Door (2d \oivecce te Os

lve ava s ANS DesiowS Medica Wes: cee oe

Oa Xo. 25 Yoh td So OOS Nendo) Wem Nh observ

| ayo. cel on EAE ak ‘Yon. See sean ay eek

wor Kn ov Rwy Wax. Seeing Bale eve

dos Yad Ah Nae tp 2s 2 ee eee Gh

AS a \t bX dcx you) 0. Ye tines So ik ity

i)

~-
'

| Vio MS NS co\\ Sov Ss ‘yu So

IAS,

i
|

a BE A Wet bans “Naan nae ‘Mwah hak

Wobeck Borman. Yatrick Re Caees ie ea Winston,

Mow. Gubllanes Bean Yourmery Mic by 4 Sag haw SL

- Pre wi sca Pnnls unier y buc Marthord y B ve

7 Sod, Micke
UWicnt\a3 hoc ues ae an Michs

hes Dann \ (re eov\e

\
Iso Soy ond clr oh con Wit \ Denial of Moke

\
Core \ Kee Damian _eedd AG A ae

Mee Nicv D> Came eon We (eR =, br oh on \ is 4

]

| P \ GAs MMA Sts ens __ Np \a 009
ase 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 55 of 69

aC ount Bs Ya Us.c Mar W496. Noainsh
VAG GN Merle Ve: J

Y

Ss x at ences

\ ou A) Vals eh Vor Yh.
S \

SANK

\5\) Pee ak SS cott VA o\ ad ad ae AN tiie |

| ae SENOS Wann hrh$ Wetec Women. Wee ss)

| ah ay i Sey en\i iA \s ay Pie ain ssh Yo ° erhy |b

i Vnus Y\ mn katt ‘no Ye Sam @ ee \ cles weal
Vans \ See Spars

Oh) nek eevee = “Shirl acbK

Rae VS AE Ss un woe hed ho Tor Lok haat and

ya Shower Slippers \ which Conse Y Kee on

| heel | TL a

hal On AN blood See

Wied Cor > days.)

lisa.) ) an Lends

Luc Motard Richard Uinston

|

Robert Barman \ Pee Babes \ &\ arn ht

Wola sed Wasi! Amendment Yioht bo

| Wa ic \auty an Veeds ink GQads rae fs

Lon Som banishment Giek Yad ‘ha ee, Ct

iT. i
iw cell idiNs human bod waste all over

makiress Solied \ Shp mer. Area \h connerd. Th

ba Soa Rin © Mig CONC cru eee kkk ee eke Seen le

Won oad — \\o o\)

pV git hive as A ae andS

Nenied —_YNoan i't

a

aeckS \ VV on Kel mash towel
* Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 56 of 69

_——————S =

Pea 60). ak

es 3 an\ tad ic)

f ; 4A\sin it eis : ) \lnc h _\broWe our
A ) Ae Wire , Shiny Bash on ad thiabs 5.

e Nangs ie Be \\ st tel. Fei Pe Ainas : es

fe

Soieoe oe On\s orver dH Weer Ran kre ©

Ye cw es eX nk — Suply 29 ‘ Yer

2 _\ne beciWed yo oe ae \- x Sh ihe a \ pil

Curse. | Ky MoS. a \b Ans oder i

=
\ KA bods \ aa Kas < ON} “ss 6G). N

fo er

ete

ite Gt Ne ats i ah es, \.
| Dadyso. rss Nipiores Wand

SAS Xp 3 SS RIC Nien oes ss See ke cbc Wad

C a on UH UsA\ QUnion ens enen Yh eg

oles se Wan bik ee een Wai eects we

Nene Saanlsfe Daher eee \ c\ewninn Sub

falas chester i ecege crept pcncenilineiet i chinceniaitill

lies
JS behali\ ‘a hioh tee nan i A\om J es

pad when Wain bite ‘vite to J Ki\\ big ale

haa Walek lan ke ae pcs aKer an\ es rust ki

os Wrebee ake ond katte on’ Lo Phat, Lift
| Me ical “ype a heny Gey . ha ce eae “oe

Yu Inhenbionallst Com Spire ‘Yo och  VNanli

LX» oi Yo Mia Ve gata eA Meds Sng

—_

yi Se 6S wi ee et a

aiven VV andi fh we — Ye dsonors wi\s )
ase 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 5/7 of 69

Wh ch CvAuUse y\ mits bal't Von Warow Ud

ans Mae WL ATL an S ay \) \ endion w\\\ ee cae

Shek We ak Fos Vainhitn tet «

Ceo \is \y args c o\\ con \i\\ ee \ Pus

Samysy Ba eh gu Nee Recto] So. Mari welll

¢ oul) US 2 KS \eNerane \S oe Pak S88

Yo s\ ov mes kn On Ce Sys (2.45

SAoy Winks Ve \eved tp Commit Sui eve:

KALA.

\55) a Fen denks Want Smad Mir hic | da

| aura GoKer and Wako flee \\0\ (hay

Rwoin Whe rw \ nnd eo foe aint gh gla Piahts ban
VY boce tim hur ny an cell nett too ir |

mental \\\\Wvake ys 4 asa gc isto ae ne

psy siolenscal Yor dure Barn itt, Doe ee oe

Vay AYTe VAN Ces hie ns t uli ple Ven ns ke

\h this© < Real ant Ue. LN Ve bi Seren kan is

Poulin dn Nah ov») Wain tile to Sho nerd

yo WwW Menkar \\ in mate abere Pain bite

couldn en Qos @ V\ra pribanss al Pol ae 3,

\) Deven dans Randel Smith leas \ Von bi Pe

aK Commi SSne4 ba Vox Cine ATL ey AW Ce And

qe RV nin RP Mec a! yack iw Oyradade \a\a0\is

Ynoved Yanda Lae’ nets ‘So meniihy, \ \nimake

!
j

Ve As quive Sher on Lo Tsitla ica | vorure
H

Case 9:17-cv-01094-LEK-ATB Documenti_ Filed 10/02/17 Page 58 of 69

Pain hi 8. Tok :

oRen_toa\_ mitt coal) moved bo

»). VS eis a Noeala a\\\ er al b ty protec aa
ni

R\ ain hs OS Aen eat his a Vein
ee as 5)

CoVer\nr

3

po oe Ne 4S \o) On ee 138 Ue) to

Vice hee der KS ato () aban or Ym kes who

\
Y OSV AY CS
O

— Se ae aces Belles geenn anh eeege tee

~ te af

Niwa ase 2 tnd Qn oe Kien din ens _¥) sn bs

tnbeahinaalls \ensinn Y\ pinks rf harber Sa

Sy \n\e Aa Bie nsf asin Vor Vaux at
& D <)

; \ Nanci eek aes YWewth ‘De Ker
Cate ee VU a hoe ei wi

tna

Nei eat h Baer WALD News. and a Efren

yy Maw hiit serious Medic

| Sewied Wan hike wmedicul \reukyren Tor th

BCR S oy because Wan hist t\\ ed y

put \aui Meagan, Wainlt he cn Yb ent a \

| \N Yo ¢ yack. a

ee Nanci Smitty Ve Hurse Swale Gil)

| yo Yok ae Bcc: tt Tron Weak baker ben

LAe\berake no nO Metre ont Yo aoiilt Selous Svea
: Ae 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 59 of 69

sae a \ oh en OH Same Sa Vues @ ad pet

Wy Noe Yortsim cs for She ae res NAY

tok Yairi a Neves Sha Sin . wn dum ‘Lou.
Vk re Ws oh es Si Quy For Sick ca”
ee Sete a hee Woes Re
Vos pic Qh ve cb wA\- \wokics No cure

Woe \ah Yosh os yey \Lrud,

-y) so Nancy Say Py So worect Plain}ite
Cyh eS Nee sy ity She kona. Were t

Ohne She nog dbp ~ calor ee ment bhea\\h
Meds arti bs, Wamive iy the ee he

et wasp tbe oes re acrih.

\

ho Jina Ploin tite
hin en Siren Yioaht ghen she inhentionally
Mab ote Se ml ea NE tale

ae ele Oe Seige eh dan ee ace be

J ond Ww Litten
Boy Nn Gaeno V ip kis Haun titt game

us _avnure Vrom \aX\ ie

“Page es eee ee in gc wane - Paka!

C \\ : ne Deen dant y ul tik alk iS
eter rain ndor Was wh Vn Wain itty Pe ben di \ as

Lick oA Annet _ohich r\ Sate SRE ine

SSS SS

‘yh

_ @ase 9:17-cv-01094-LEK-ATB Document 1

Filed 10/02/17 Page 60 of 69

\b.0) Wyo is SS Gears Woaser Son an \ christy

Conwlin — Nvol\abed VaPhrde CY as honk piahtsl

4 ah ey Yn ed O ete \ ihe care an) \n ve Qty ek So

\antnih Sef ANUS we NLC a werks Cor on Wo thon

\ake

\) us x \o

IL Xv a, Y\ rans WY i RY aah Wk aN, Ow 3S Y “ und ant

i ha < Woate. Wootiaig teh > oc Ae eet ee halicn,

4 bs, eer Whos gi Loh

ees 4(\b\tL And on 4418
| Wkemdacr Leotoeges Wainvike Sick call Shin or failed

eyes. \
Xo Wika, Wain att \N ae On, veka ud shot:

By_Norse lavish con Win dso Yule be

_xa Wao hiie eRe Be Sian nok aber plaintiff

ae Cou SAN hae sass can”, a Oe

emi at

\
iS WK \\ A \S RANA AL ern andy _\| Now ;
| Vee SS

A) Me Nak Ma wd Ae bee Vio lade S Frain bite

i$

yr

Ax Bes at Yiahks \\h Severe Wants vu)

| Condisions in an aa Hc cel\ alt lide

1

1 Op \num an Con tack ra dbion with __olher

or

| eb shaun \h para neat hs ios A Mocs Sean’

Con\i tions

Lt
T

\ wan si Donald al \er ad su

| cel\ M\uores tuk \vahi\s ON Ad hours W Ant

I gh NG cc RRR eas ake
J J J

_ Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 61 of 69

Ak CoM gS & \c\io0 Caant oo

WR awhtt \. Oe ie ¥% Denise Dern very

peas Nelsen. Rk ak 3 Ye lee on \ heats

| Solves ‘nee Vina Yi tg me M\ end ens

| Cid So Sue Bro ce$5) substan We ue

19s oe ees cae achbieac ConSciourn. Shochina

| ms oWUresswie, Aceedd Se Ye cours Be ink
Foun Yeo bi Ds 2 Kovend mest ony 9"

Debts.

Wc pi Sc WbS NA AG he cig +
| \bins Waa X SNS 0

As) iM KN das 4‘ i aoe \a>_ or 2 W CoY Vor aes

neers Ds, oe OS Avot Xaly ks Foy

\\ x ek gx on Demase Hert Mer =f ry e\ \ nintitt |

a Biprrmows Xi eks ul eee Nh Nae etek Bat

I Nove . cee 5 ‘wk Sioa Nala \on i teks sail

Lak Woon +s Yan katt petnandl eAE mi Lesbi agian,

1 OM y VS Path Sec & — Aa oral cet

Te you CX it w Aion a r nud ub\e ae Lor _ ot ¥ 2k

bons ohh ri One uNmaddsy Puy ah Noh oe tise.

po Vn te Whee \\ dade \ Wh choker it Yu)

H Gyn Subbadeeds kp Abana wits Wi aly Gata:

Laas. A\eindstt fonul\ cae moihen Ae: Nic Wek Veweenes

oO
I cue of pan oy Yeversed ond chiMn aR

: Case 9:17-cv-01094-LEK-ATB Documenti Filed 10/02/17 Page 62 of 69

fa neni

ae Dy on. a ye Shoe C muh Nyshi seh cn
eg Bees Seip a SEY es ee a ee
"ee: \ oy tne ec Ser Ss Wet he cue: Tene
Ce ee —garchasd Yn me Where Mains te
BGS So ct Os on i's es es
ee ee coin Se oc aia ons sp eae iets aot
Mp My oh ove mention  achons bee en ae
oo BY i oe eae, oa eee \\ 14 4
as wise. Abst uy. ayate oc 8 ans A\\ on pat Sd
itis be kucn, Kos Was alas eae ai

a an §) Dek i 3 rod DevrSe___ Sex prev ond

a ae NaASon, N\ a Xa Se: XY ak AE i mae!
YAQse oben Wed indendionnld oS bes nls

il AY ik S aS\ Xo Aesyons os Noo Nargis A
Fy 3 \ Sen ena Se ee See
Hi OS AVCS i YAAAMS \ \\ia\ th Pas >\as\ib in ceny| KS

oC) Ante Yon kh’ eN et \ Meh ei
Lo cveV anced highs Lh cn Sen We ek Lek aly
Warp dsf es Vand athe problems oltinnina
Ko ¥.0 \l Vriyent Panitt a cue Yh ny YD ro :

Ht \p\or ch NONE Peres Gl, Weerto stots ot ee

‘i Net) poe Are Oe ss ous S\de. ches — aN Vices was th case. iShni

j \) Keak "hy D, ae \\ e\ RON Conk aes Men

OY ra Yo Ye5 pen.) ¥\ ain Yih? % Ou. \ Bequest :

IEEE TEI IEE

ase 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 63 of 69

senna kG

| obowk iS 2h mas Ver PYOATAM fie hb neec dats

Lond \nkerhionnls Maske oleh Zt Backs Lal Pham tite

fore oh Chee ula Di A ee

Re ang Ve Lect ih WS to ATL eV anc eS ie Com Blnihks.

Sy Nien he tei ws ca, see elinn Wain Ae ie.

hl

Lon Aockn om ee Xe an 20 te on ON arn bie

uA Raa. Ss os Wankatt | Wier 60. caer’ or\er

Xo ato duce So) oc uM eek ar Yalher Video Noakes

We ae of Wandait ATLe vances S\as\\b. na he |

C)
Len ignn, Misha hc cde cogs boo ae Cekek st at Claim §
Lob Nei te wares maleracice olny: Detcaer Plainti ep
con, mrrors 0 Wehicn\ ehpert.

]

| £) ac ack Danes lee Cron kes ON Gn gorit key
nocd Vor bio -\\ Bice § a boSiilc 6.) Sa See

\ . tt

H Leahey ans een, EXcerssive Prices Por Prisoners
whe Ae AricVawceS So Wi edt cant have preo! al

—Cotra phon when Mes tile \awS urs
i

Mba) Del en dans Di Bernicr ond BK Leclerc Violated
Af RNase VA Rea Ween, eee mace dus Process
law’ Wie NS Kee haces) aes When Wreg  Subrihed
Hise: of hacer Teekay oa OA, Wk SR
a ie ed eae and Cony\ainis ina dion dah — Warwhite
\ WY ps ieee on in mabe = Sek euise. or ‘yh

ot Name Mere. ta eit eds white: Suk ee Nees
had Lew) dicWels 22 months”

bs
Noe oo Wansilt, Vive w

, Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 64 of 69

7

Behar wil sitet QaAS Submibbes 4 nd Yet on\4

ent hry tee A ier ppccanias lain it \ nso
Cunlaned \o ‘nae. Ye Lec ee VY i \

N We lee aa ie DD Benver ond RA Leclerc viol ake

X\ pr daXt Sol Shan SiV & Mure -¥ Cocess ahi Cho Gas oo \eard

ae ORP een ve =a cx D Baier \
Wn Veo lira a Xa, \ \ Poa yy ave co2esS yo

Yow Day Aes Suderiodina any ak cn 1 Kod Washi te

WAS Yeored Sue Yt oceSs aX Vee Sa er idkend ny

De Se a ed

hyd Wwe Yow: Sok NS pee Rak pica \o Pain hi PP

ChSe aad ashen oS madbor pd? Ldw.

%) We x Wake D_ BSenier a> Se > \. eek ee C Vio lates

Wapkit

\y" Ke end yeok t\ un der Poa \ Vee too Vay ahen

Woop Mink yuh Sin bee Ake neue aE a

a \ aa Vo makes ahp came ‘po Upstrre. ae |

Pain hide oil ave Lo obhvan Htec “o. A eal \ 0

os. Q ;
Mis cp eed ib pe co PV) = currest\s\ In

the Yeo ‘ \ Process x ob Yimnins Yh ‘ cee mye

ok nm as ts ci b CAM e Yo U aN; Rae a ae

Cop buck Wiec Wes an \ neal Mans ad Sek ol thie ce

yes avekt oak miilay Bin One a! obi an Visi et

iN. Sabin ee KY Bila aE ony\ain\ ta \hy

oh nh Once ArLcVances Ae eyhus oN etc

ase 9:17-cv-01094-LEK-ATB Documenti_ Filed 10/02/17 Page 65 of 69

|\be) St naka Tracy Neloon Violas ed. Woon bith .'6"

! Kw oak eat v4 ots ax er e rule iy Un eecerat ba,

| Oo
[ salir: She ask Paints 28 \6 eh pode MALS penlSe

ies, \ ga sotlure, L She Knew Vani ge WAS,

\ J
in ek ch AKA @ Pat cco | \ \s ae WAS 3 Ves areal ues

Pokus Oe ae \y caso sy Vo aa bs, ewels. of

LW Xt | Vain sshd YX \nex \y a \ikinn a ee Com plants
anus MAS aE Wai hf OS wet all ey OF ais

| ay alge aN C are Lickets 1D of end anh

167) N > dens ants \ ak Sh cls nweie Cony +

(XD Sdribusadie \o Xm — dK Chin ie Color

lov hake Li bn Aageived \he Ravn hyhe § Oyin\s a

ily \Ony wns, ay ees, bs, Cuce\ dy seeks Lhe al Oise u United 9

\b3) ye \ankt Kes eat Nes YS admins vive ,

ns Sook So \ ean Or. \ Yeden Sanh.

AGA) WEE AL, Vasile Sespedtally te ce dabsnent \h

\wS XaoX ood Oe nsas Wb XS t aNvot spat each
Sava \ te ees Qe Yhe wrounsS Su vc Ven \ +)

| CompsnS Nie Soy 2. wy) cick oO Ter ion . Wena Abd swish

ll oss Sie ata Cowderd A Pan okie Sea ek

Hen con anes bs PES ick asd eS Cars tbo est

| X
bo 2 Vee Wika Aa\soinn
|
Case 9:17-cv-01094-LEK-ATB Documenti Filed 10/02/17 Page 66 of 69

i

i]

AD el sndont “Mar nedli

i> Compensators $10, 5 004 060.00

"

I> Puno We % ay O000\ o6 mad, SaPendi on wi\h, oud pad Cor 6 maaths.

ay ot as wok Y ain \ ey

~ Commend aroed 2455) 05 O\ oO0Ds0o0

Punitive: Voy ono, oot.on

Eas C OA REDS wr ged : 3. Sod\ OOD. »9

_— Rumdive t \50d\ Oon, py

} . Defendsasy Po Bakee

> Com Qen Sabon 3 4 &\000\ 000.90

ie Pumb\\e - ‘oo \00 0-0

3
|
,

Meteora Richard Scsdb

Com yen dab ord: \\ 600 yond. 9p
= Pum sive? $50) odode 60

DDdetendons | Ms ayo ach

JE> 0 oF Qen Sa tors $110) 0.0.0 \ tain ast

— FPonive ‘No \0 0D yoo

a PS ea oe YW Sm bh

- Compensatory, AS ,O00\D%0.op

l- Punky e = Aq ab \. DOD. oD

Case 9:17-cv-01094-LEK-ATB Documenti Filed 10/02/17

Page 67 of 69

ADD cS en Vant W edSs
2 Compe Saker 4 \0\ 000 \.0004.0?

— Ponvwe bX 00D) oO00-op

oe Com pendarocy’ »¥\\ y DO0) 000 OD

a2 he

<P Waa SMe Re Acas 600.00

YK AWinddon

— Compendsaryory VT50 \ Od0.0

a Sate : Be hei od

ap s ey \ nor \,

[_-_

Comden Sobers % \W 500. o0

i
i}

——— a

\
Pun Wwe = Abs

) Deven dant », out bist

CoM ved S ype 44 DO. 060,00

=» Ryuekiie : Wie eeais

Dae a cI eee “See

~ Cow Sor? S\0\_p Oboe

= SY NY 5s lis a

) S vc sak Vx emg

= Com enSar ns b2\0 6 0.00

. anadive +> er

.

Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 68 of 69

1D oS 2S ans N, 3 mh

1 Compensators % 5 \3y 0 OO0\ 0 dind

H -_ Pani 24D) 0 00\00b.02

oS vce tae aA,

os OM DendSnVord\ WLS O00 \0 00,0
Pig te ek \
i Punisiwe* \ DO.bo\ db. 00

De eodan' M. Avo

i> CompenSa sors * U\\5 ony 000.00

> Que ave : Yaoo\oo0.08

iy, Saeed 6 colin

i Co wrvens word? 4150) cones
Y Pun ve oui S DDD \00d,66

ans pik oe

17 Compendsaory SSSihonnop

|~ Ponssive: ‘5 50.06

bd Renan Dernier

is Compensators % tS Oob\ 000.62

Co mRENSALOL | or bahar Punihive &2 \ $00 \000.08

en bans "Veco Ne \Sbn

iy

> Compensatory s as. 0.00.00

If Fobiswe 3 LAS 6) oob.op
2s Case 9:17-cv-01094-LEK-ATB Document1 Filed 10/02/17 Page 69 of 69

1
|
|
|

wd Beast X. Leclerc

Con Ren Saror\sh ASO) 000-00

1 Ryo tive 's 5 BO\ OOD. br

wD ek end nor N._Nen\itve
C ompenSahor\s 1.1 00.09
_ umdive + $300.09

Grant Sucly over elite AS A Ess bryeeur Yaar Yinnife is
DAWA NG Cah da hcgrbea elds Sask cas) lean Saale ee ear
Dai ee _o\Sicun\ Coyne Wie ;

=

\ Concerbith  Yads Wn patanraths ab bo So ak
| ns CaS Yank ee ON y Cankv x\ att Ce
AWN 2. Wiser Sind Leber helinh Oe eobee

\ bo o\e Deke a cha ler  \Si 0 4.

Ev \edare. Under Vena & Yor yucd Wook Yoo Cte dpi DA
| \S Yee an Ee ortect, \ ate? ; 4 | 24 7

Bee DA aA

ee

eink white oRhaaay
C\\nhon ANN eX

Pp 2 okt Oras
Dannem orn \ Nol Jadad

| i.

